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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Abingdon Division

 CHRISTOPHER D. NOVAK,               )
                                     )
             Plaintiff,              )
                                     )
 v.                                  )                Case No. 1:22-cv-00010(JPJ/PMS)
                                     )
 TROOPER ALLEN T. STUART,            )
                                     )
             Defendant.              )
 ___________________________________ )


                        STIPULATION OF VOLUNTARY DISMISSAL
                        PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

 Plaintiff Christopher Novak, by counsel, and Defendant Trooper Allen T. Stuart, by counsel,

 hereby give notice that the action above is hereby voluntarily dismissed, WITHOUT prejudice,

 with each party to bear their own costs and attorney’s fees.




 DATE: July 14, 2023                                  Respectfully submitted,

                                                      ______________________________
                                                                      /s/
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                                                      and
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